
684 S.E.2d 158 (2009)
STATE of North Carolina
v.
David Reed WILSON.
No. 254P09.
Supreme Court of North Carolina.
August 27, 2009.
M. Gordon Widenhouse, Chapel Hill, for David Wilson.
Charles E. Reece, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed on the 19th of June 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*159 "Denied by order of the Court in conference, this the 27th of August 2009."
